Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 1 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 2 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 3 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 4 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 5 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 6 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 7 of 8
Case 19-50073   Doc 96   Filed 07/13/21   Entered 07/13/21 15:12:27   Page 8 of 8
